       Case 3:14-cv-01546-AWT Document 1 Filed 10/21/14 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RITA CELONE UMILE                                     JURY TRIAL DEMANDED

v.                                            CASE NO. 3:14 cv

BENDER, ANDERSON AND BARBA, P.C.
RONALD J. BARBA

                                       COMPLAINT

1.     This is an action pursuant to the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. §1692 et seq.

2.     This Court has jurisdiction. 15 U.S.C. §1692k.

3.     Plaintiff is a natural person and a citizen of Connecticut.

4.     The defendants use the mails in their regular efforts to collect personal accounts

from consumers on behalf of third parties.

5.     On or about July 24, 2014, defendants sent their “Stage 1 Pre-Foreclosure Notice”

to plaintiff regarding her alleged debt to Lake Point Condominium Association, Inc., 210

Treadwell Street Unit 101, Hamden CT 06514.

6.     On its face, the letter violated 15 U.S.C. §1692g by requiring plaintiff to mail the

payment prior to the thirtieth day from receipt of the letter. Chauncey v. JDR Recovery

Corp., 118 F.3d 516, 519 (7th Cir. 1997).

7.     On its face, the letter violated 15 U.S.C. §1692g by omitting the mandatory

statutory language “by the debt collector.” Diaz v. Residential Credit Solutions, Inc., 965

F. Supp. 2d 249, 260 (E.D.N.Y. 2013).

8.     On its face, the letter violated 15 U.S.C. §1692g by referring to “interest, if any.”

“[W]hen a debt is accruing interest, a validation notice fails to correctly state the amount of
         Case 3:14-cv-01546-AWT Document 1 Filed 10/21/14 Page 2 of 2




the debt as required by § 1692g unless it discloses the fact that interest is accruing and

informs the consumer of the applicable interest rate.” Jones v. Midland Funding, LLC ,

755 F. Supp. 2d 393, 397 (D. Conn. 2010).

9.       Defendants’ collection efforts violated 15 U.S.C. §1692e(2), -f(1) or –g by

including unlawful attorney’s fees or other unlawful charges in the total amount due on the

account. Tuttle v. Equifax Check, 190 F.3d 9, 13 (2d Cir. 1999).

WHEREFORE plaintiff respectfully requests this Court to:

     1. Award plaintiff such compensatory and punitive damages as are permitted by law,

as well as $1,000 statutory damages under the FDCPA.

     2. Award the plaintiff costs of suit and a reasonable attorney's fee;

     3. Award such other and further relief as law or equity may provide.

                                        THE PLAINTIFF




                                        BY______/s/ Joanne S. Faulkner___
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